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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 VITAMIN ENERGY, LLC,

                         Plaintiff,
                                                                CIVIL ACTION
        v.                                                      NO. 19-3672

 EVANSTON INSURANCE COMPANY,

                         Defendant.


                                            ORDER

       AND NOW, this 23rd day of November 2020, upon consideration of Defendant’s Motion

for Judgment on the Pleadings (Doc. No. 36-1), Plaintiff’s Memorandum of Law in Opposition to

Defendant’s Motion for Judgment on the Pleadings (Doc. No. 38), Plaintiff’s Motion for Partial

Judgment on the Pleadings (Doc. No. 39), Defendant’s Reply in Support of its Motion and in

Opposition to Plaintiff’s Motion (Doc. No. 42), the arguments of counsel at the hearing on the

Motions held on July 14, 2020 (Doc. Nos. 44-45), and in accordance with the Opinion of the Court

issued this day, it is ORDERED that Defendant’s Motion for Judgment on the Pleadings (Doc.

No. 36-1) is GRANTED, and Plaintiff’s Motion for Partial Judgment on the Pleadings (Doc. No.

39) is DENIED. The Clerk of Court shall close this case for statistical purposes.



                                                    BY THE COURT:



                                                    /s / J o el H . S lo ms k y
                                                    JOEL H. SLOMSKY, J.
